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           EXHIBIT 22
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 2 of 43 PageID #: 1197

   COB-1-U


          The ’779 Accused Products include: 1) the DraftKings Sportsbook kiosks and/or over the
   counter betting at partnered casinos, 2) the DraftKings Sportsbook mobile applications accessible
   via mobile devices, and 3) the DraftKings Sportsbook web applications accessible via computing
   devices (i.e., wagering input devices).
           Claim Element                                    Infringement
                                       U.S. Patent No. 11,200,779
    16[a]. A system for
    conducting a wagering event
    among one or more
    participants in real time, the
    system comprising:




                                     https://www.draftkings.com/about/sportsbook/ [Accessed 15
                                     November 2021, 15:00 EST]




                                                   1

   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 3 of 43 PageID #: 1198

   COB-1-U


           Claim Element                           Infringement
                              U.S. Patent No. 11,200,779




                            https://www.draftkings.com/about/sportsbook/ [Accessed 15
                            November 2021, 15:00 EST]

                                          2

   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 4 of 43 PageID #: 1199

   COB-1-U


           Claim Element                                 Infringement
                                    U.S. Patent No. 11,200,779

    16[b]. a system controller
    comprising a trading engine
    module;




                                  https://sportsbook.draftkings.com/how-to-bet [Accessed 15
                                  November 2021, 15:00 EST]




                                  https://sportsbook.draftkings.com/help/quick-start-guide/2
                                  [Accessed 15 November 2021, 15:00 EST]




                                                 3

   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 5 of 43 PageID #: 1200

   COB-1-U


           Claim Element                           Infringement
                              U.S. Patent No. 11,200,779




                            www.sportsbook.draftkings.com/featured?casinoPartner-
                            TheMeadows&category=game-lines [Accessed 12 November
                            2021, 10:31 EST]




                                          4

   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 6 of 43 PageID #: 1201

   COB-1-U


           Claim Element                           Infringement
                              U.S. Patent No. 11,200,779




                            DraftKings Sportsbook & Casino Android App v. 3.18.0
                            [Accessed 12 November 2021, 11:22 EST]




                                          5

   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 7 of 43 PageID #: 1202

   COB-1-U


           Claim Element                           Infringement
                              U.S. Patent No. 11,200,779




                            Photograph of kiosk at DraftKings Sportsbook at Resorts Hotel
                            Casino, Atlantic City, NJ. [Captured 20 November 2021, 20:30
                            EST]




                            https://sportsbook.draftkings.com/help/disconnect-
                            policy/disconnect-policy [Accessed 29 November 2021, 17:38
                            EST]




                                           6

   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 8 of 43 PageID #: 1203

   COB-1-U


           Claim Element                           Infringement
                              U.S. Patent No. 11,200,779




                            http://status.draftkings.com/ [Accessed 29 November 2021,
                            14:10 EST]
    16[c]. a database;




                            www.sportsbook.draftkings.com/mybets [Accessed 12
                            November 2021, 10:32 EST]




                                          7

   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 9 of 43 PageID #: 1204

   COB-1-U


           Claim Element                           Infringement
                              U.S. Patent No. 11,200,779




                            DraftKings Sportsbook & Casino Android App v. 3.18.0
                            [Accessed 12 November 2021, 11:22 EST]




                                          8

   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 10 of 43 PageID #: 1205

   COB-1-U


           Claim Element                                 Infringement
                                    U.S. Patent No. 11,200,779




                                  Photograph of kiosk at DraftKings Sportsbook at Resorts Hotel
                                  Casino, Atlantic City, NJ. [Captured 20 November 2021, 20:30
                                  EST]
    16[d]. a plurality of input
    devices each having a user
    interface; and




                                                 9

   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 11 of 43 PageID #: 1206

   COB-1-U


           Claim Element                            Infringement
                               U.S. Patent No. 11,200,779




                             https://www.draftkings.com/about/sportsbook/ [Accessed 15
                             November 2021, 15:00 EST]

                                           10

   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 12 of 43 PageID #: 1207

   COB-1-U


           Claim Element                            Infringement
                               U.S. Patent No. 11,200,779




                             Photographs of kiosk at DraftKings Sportsbook at Resorts Hotel
                             Casino, Atlantic City, NJ. [Captured 20 November 2021, 20:30
                             EST]




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   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 13 of 43 PageID #: 1208

   COB-1-U


           Claim Element                                   Infringement
                                      U.S. Patent No. 11,200,779
    16[e]. a communications
    interface for facilitating
    communications       between
    the system controller and the
    plurality of input devices;




                                    https://sportsbook.draftkings.com/how-to-bet [Accessed 15
                                    November 2021, 15:00 EST]




                                    https://sportsbook.draftkings.com/help/quick-start-guide/2
                                    [Accessed 15 November 2021, 15:00 EST]




                                                  12

   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 14 of 43 PageID #: 1209

   COB-1-U


           Claim Element                           Infringement
                              U.S. Patent No. 11,200,779




                             www.sportsbook.draftkings.com/featured?casinoPartner-
                             TheMeadows&category=game-lines [Accessed 12 November
                             2021, 10:31 EST]




                                         13

   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 15 of 43 PageID #: 1210

   COB-1-U


           Claim Element                           Infringement
                              U.S. Patent No. 11,200,779




                             DraftKings Sportsbook & Casino Android App v. 3.18.0
                             [Accessed 12 November 2021, 11:22 EST]




                                          14

   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 16 of 43 PageID #: 1211

   COB-1-U


           Claim Element                            Infringement
                               U.S. Patent No. 11,200,779




                             Photographs of kiosk at DraftKings Sportsbook at Resorts
                             Hotel Casino, Atlantic City, NJ. [Captured 20 November 2021,
                             20:30 EST]




                                           15

   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 17 of 43 PageID #: 1212

   COB-1-U


           Claim Element                                 Infringement
                                    U.S. Patent No. 11,200,779




                                  https://sportsbook.draftkings.com/help/disconnect-
                                  policy/disconnect-policy [Accessed 29 November 2021, 17:38
                                  EST]




                                  http://status.draftkings.com/ [Accessed 29 November 2021,
                                  14:10 EST]
    16[f]. the system controller
                                 See limitations 16[b] and 16[g]-16[p].
    configured to:




                                                16

   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 18 of 43 PageID #: 1213

   COB-1-U


           Claim Element                                    Infringement
                                       U.S. Patent No. 11,200,779
    16[g] receive, by the trading
    engine module, a plurality of
    wagers on the wagering
    event from the plurality of
    input devices via the
    communications interface,
    the plurality of wagers input
    by a plurality of participants
    via the user interfaces of
    respective input devices
    from the plurality of input
    devices,




                                     https://sportsbook.draftkings.com/how-to-bet [Accessed 15
                                     November 2021, 15:00 EST]




                                     https://sportsbook.draftkings.com/help/quick-start-guide/2
                                     [Accessed 15 November 2021, 15:00 EST]




                                                   17

   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 19 of 43 PageID #: 1214

   COB-1-U


           Claim Element                           Infringement
                              U.S. Patent No. 11,200,779




                             www.sportsbook.draftkings.com/featured?casinoPartner-
                             TheMeadows&category=game-lines [Accessed 12 November
                             2021, 10:31 EST]




                                         18

   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 20 of 43 PageID #: 1215

   COB-1-U


           Claim Element                           Infringement
                              U.S. Patent No. 11,200,779




                             DraftKings Sportsbook & Casino Android App v. 3.18.0
                             [Accessed 12 November 2021, 11:22 EST]




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   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 21 of 43 PageID #: 1216

   COB-1-U


           Claim Element                            Infringement
                               U.S. Patent No. 11,200,779




                             Photographs of kiosk at DraftKings Sportsbook at Resorts
                             Hotel Casino, Atlantic City, NJ. [Captured 20 November 2021,
                             20:30 EST]




                                           20

   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 22 of 43 PageID #: 1217

   COB-1-U


           Claim Element                            Infringement
                               U.S. Patent No. 11,200,779




                             https://sportsbook.draftkings.com/help/disconnect-
                             policy/disconnect-policy [Accessed 29 November 2021, 17:38
                             EST]




                             http://status.draftkings.com/ [Accessed 29 November 2021,
                             14:10 EST]




                                           21

   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 23 of 43 PageID #: 1218

   COB-1-U


           Claim Element                                   Infringement
                                      U.S. Patent No. 11,200,779
    16[h]. store the plurality of
    wagers in a record within the
    database,      the      record
    comprising               wager
    information for the plurality
    of wagers associated with
    the plurality of participants,




                                     www.sportsbook.draftkings.com/mybets [Accessed 12
                                     November 2021, 10:32 EST]




                                     DraftKings Sportsbook & Casino Android App v. 3.18.0
                                     [Accessed 12 November 2021, 11:22 EST]
                                                  22

   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 24 of 43 PageID #: 1219

   COB-1-U


           Claim Element                                    Infringement
                                       U.S. Patent No. 11,200,779




                                     Photograph of kiosk at DraftKings Sportsbook at Resorts Hotel
                                     Casino, Atlantic City, NJ. [Captured 20 November 2021, 20:30
                                     EST]
    16[i]. continuously retrieve
    data in real time related to a
    progress of the wagering
    event,




                                     www.sportsbook.draftkings.com/featured?casinoPartner-
                                     TheMeadows&category=game-lines [Accessed 12 November
                                     2021, 10:31 EST]




                                                   23

   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 25 of 43 PageID #: 1220

   COB-1-U


           Claim Element                           Infringement
                              U.S. Patent No. 11,200,779




                             DraftKings Sportsbook & Casino Android App v. 3.18.0
                             [Accessed 12 November 2021, 11:21 EST]




                                          24

   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 26 of 43 PageID #: 1221

   COB-1-U


           Claim Element                                  Infringement
                                     U.S. Patent No. 11,200,779




                                   Photograph of kiosk at DraftKings Sportsbook at Resorts Hotel
                                   Casino, Atlantic City, NJ. [Captured 20 November 2021, 20:30
                                   EST]
    16[j]. recalculate the wager
    information in real time
    based on the continuously
    retrieved data,




                                   www.sportsbook.draftkings.com/featured?casinoPartner-
                                   TheMeadows&category=game-lines [Accessed 12 November
                                   2021, 10:32 EST]

                                                 25

   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 27 of 43 PageID #: 1222

   COB-1-U


           Claim Element                           Infringement
                              U.S. Patent No. 11,200,779




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   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 28 of 43 PageID #: 1223

   COB-1-U


           Claim Element                           Infringement
                              U.S. Patent No. 11,200,779




                             DraftKings Sportsbook & Casino Android App v. 3.18.0
                             [Accessed 12 November 2021, 11:22 EST]




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   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 29 of 43 PageID #: 1224

   COB-1-U


           Claim Element                                  Infringement
                                     U.S. Patent No. 11,200,779




                                   Photograph of kiosk at DraftKings Sportsbook at Resorts Hotel
                                   Casino, Atlantic City, NJ. [Captured 20 November 2021, 20:30
                                   EST]
    16[k]. continuously evaluate
    the recalculated wager
    information,




                                   www.sportsbook.draftkings.com/featured?casinoPartner-
                                   TheMeadows&category=game-lines [Accessed 12 November
                                   2021, 10:32 EST]

                                                 28

   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 30 of 43 PageID #: 1225

   COB-1-U


           Claim Element                           Infringement
                              U.S. Patent No. 11,200,779




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   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 31 of 43 PageID #: 1226

   COB-1-U


           Claim Element                           Infringement
                              U.S. Patent No. 11,200,779




                             DraftKings Sportsbook & Casino Android App v. 3.18.0
                             [Accessed 12 November 2021, 11:22 EST]




                                          30

   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 32 of 43 PageID #: 1227

   COB-1-U


           Claim Element                                   Infringement
                                      U.S. Patent No. 11,200,779




                                    Photograph of kiosk at DraftKings Sportsbook at Resorts Hotel
                                    Casino, Atlantic City, NJ. [Captured 20 November 2021, 20:30
                                    EST]
    16[l]. determine that one or
    more participants of the
    plurality of participants is
    eligible to win an award
    based on their respective one
    or more wagers and a
    potential outcome of the
    wagering event,




                                    www.sportsbook.draftkings.com/featured?casinoPartner-
                                    TheMeadows&category=game-lines [Accessed 12 November
                                    2021, 10:32 EST]

                                                  31

   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 33 of 43 PageID #: 1228

   COB-1-U


           Claim Element                           Infringement
                              U.S. Patent No. 11,200,779




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   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 34 of 43 PageID #: 1229

   COB-1-U


           Claim Element                           Infringement
                              U.S. Patent No. 11,200,779




                             DraftKings Sportsbook & Casino Android App v. 3.18.0
                             [Accessed 12 November 2021, 11:22 EST]




                                          33

   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 35 of 43 PageID #: 1230

   COB-1-U


           Claim Element                                     Infringement
                                        U.S. Patent No. 11,200,779




                                      Photograph of kiosk at DraftKings Sportsbook at Resorts Hotel
                                      Casino, Atlantic City, NJ. [Captured 20 November 2021, 20:30
                                      EST]
    16[m]. generate one or more
    options in real time for the
    one or more participants to
    cash out prior to a
    conclusion of the wagering
    event for at least a portion of
    the award,




                                      https://sportsbook.draftkings.com/help/quick-start-guide/5
                                      [Accessed 15 November 2021, 15:00 EST]




                                      https://sportsbook.draftkings.com/help/glossary/betting-
                                      terminology [Accessed 15 November 2021, 15:00 EST]




                                                    34

   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 36 of 43 PageID #: 1231

   COB-1-U


           Claim Element                           Infringement
                              U.S. Patent No. 11,200,779




                             www.sportsbook.draftkings.com/mybets [Accessed 12
                             November 2021, 10:32 EST]




                             DraftKings Sportsbook & Casino Android App v. 3.18.0
                             [Accessed 12 November 2021, 11:22 EST]



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   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 37 of 43 PageID #: 1232

   COB-1-U


           Claim Element                                    Infringement
                                       U.S. Patent No. 11,200,779




                                     Photograph of kiosk at DraftKings Sportsbook at Resorts Hotel
                                     Casino, Atlantic City, NJ. [Captured 20 November 2021, 20:30
                                     EST]
    16[n]. cause the one or more
    options to be presented to the
    one or more participants via
    the user interfaces of the
    respective one or more input
    devices,




                                     https://sportsbook.draftkings.com/help/quick-start-guide/5
                                     [Accessed 15 November 2021, 15:00 EST]




                                                   36

   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 38 of 43 PageID #: 1233

   COB-1-U


           Claim Element                           Infringement
                              U.S. Patent No. 11,200,779
                             www.sportsbook.draftkings.com/mybets [Accessed 12
                             November 2021, 10:32 EST]




                             DraftKings Sportsbook & Casino Android App v. 3.18.0
                             [Accessed 12 November 2021, 11:22 EST]




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   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 39 of 43 PageID #: 1234

   COB-1-U


           Claim Element                                   Infringement
                                      U.S. Patent No. 11,200,779




                                    Photograph of kiosk at DraftKings Sportsbook at Resorts Hotel
                                    Casino, Atlantic City, NJ. [Captured 20 November 2021, 20:30
                                    EST]
    16[o]. receive a selection of
    an option from the one or
    more     options     for    a
    participant from at least one
    input device from the one or
    more input devices prior to
    conclusion of the wagering
    event, and




                                    www.sportsbook.draftkings.com/mybets [Accessed 12
                                    November 2021, 10:33 EST]




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   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 40 of 43 PageID #: 1235

   COB-1-U


           Claim Element                           Infringement
                              U.S. Patent No. 11,200,779




                             DraftKings Sportsbook & Casino Android App v. 3.18.0
                             [Accessed 12 November 2021, 11:23 EST]




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   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 41 of 43 PageID #: 1236

   COB-1-U


           Claim Element                                    Infringement
                                       U.S. Patent No. 11,200,779




                                     Photograph of kiosk at DraftKings Sportsbook at Resorts Hotel
                                     Casino, Atlantic City, NJ. [Captured 20 November 2021, 20:30
                                     EST]
    16[p]. cause the at least the
    portion of the award to be
    presented to the a least one
    participant, such that the
    user interface displays one
    or more of a confirmation
    that the option has been
    selected and a value of the at
    least the portion of the
    award.

                                     www.sportsbook.draftkings.com/mybets [Accessed 12
                                     November 2021, 10:33 EST]




                                                   40

   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 42 of 43 PageID #: 1237

   COB-1-U


           Claim Element                           Infringement
                              U.S. Patent No. 11,200,779




                             DraftKings Sportsbook & Casino Android App v. 3.18.0
                             [Accessed 12 November 2021, 11:23 EST]




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   EAST\188168720.1
Case 1:21-cv-01695-MN-CJB Document 14-22 Filed 02/07/22 Page 43 of 43 PageID #: 1238

   COB-1-U


           Claim Element                            Infringement
                               U.S. Patent No. 11,200,779




                             Photograph of kiosk at DraftKings Sportsbook at Resorts Hotel
                             Casino, Atlantic City, NJ. [Captured 20 November 2021, 20:30
                             EST]




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   EAST\188168720.1
